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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 EL DORADO DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                   Case No. 1:21-cr-10005

MISAEL DOMINGUEZ-GUTIERREZ                                                           DEFENDANT

                                             ORDER

       Before the Court is the Government’s Motion to Dismiss Indictment. ECF No. 36.

Pursuant to Federal Rule of Criminal Procedure 48(a), the Government moves to dismiss the

Indictment filed against the Defendant in this matter on April 28, 2021. ECF No. 3. The

Government asserts that dismissal of this matter is in the best interests of justice. The Defendant’s

response prays that the Court grant the Government’s request. ECF No. 37.

       Federal Rule of Criminal Procedure 48(a) permits the Government, “with leave of court,

[to] dismiss an indictment, information, or complaint.” Upon consideration, the Court finds that

good cause for the motion has been shown. Accordingly, the Government’s Motion to Dismiss

Indictment (ECF No. 36) is hereby GRANTED. The Indictment filed against Defendant Misael

Dominguez-Gutierrez on April 28, 2021, is DISMISSED WITHOUT PREJUDICE.

       IT IS SO ORDERED, this 2nd day of December, 2021.

                                                              /s/ Susan O. Hickey
                                                              Susan O. Hickey
                                                              Chief United States District Judge
